         Case 1:18-cv-11710-GWG Document 1 Filed 12/14/18 Page 1 of 10



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

  Luis Quizhpi,                                                Civ. Action #:

                                        Plaintiff,             Complaint
                -v-

  212 Steakhouse, Inc., and                                    Jury Trial Demanded
  Nikolay Volper,

                                       Defendants.


       Plaintiff Luis Quizhpi (“Plaintiff” or “Quizhpi”), by Abdul Hassan Law Group, PLLC,

her attorneys, complaining of Defendants 212 Steakhouse, Inc., and Nikolay Volper (collectively

“Defendants”) respectfully alleges as follows:

                                 NATURE OF THE ACTION
1. Plaintiff alleges, that he was employed by Defendants, individually and/or jointly and
   pursuant to the Fair Labor Standards Act ("FLSA"), 29 U.S.C. §§ 216 (b), that he is: (i)
   entitled to unpaid overtime wages from Defendants for working more than forty hours in a
   week and not being paid an overtime rate of at least 1.5 times his regular rate for each and all
   such hours over forty in a week; (ii) entitled to maximum liquidated damages and attorneys’
   fees pursuant to the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. including 29 U.S.C. §
   216(b).


2. Plaintiff further complains pursuant to New York Labor Law, that he is: (i) entitled to unpaid
   overtime wages from Defendants for working more than forty hours in a week and not being
   paid an overtime rate of at least 1.5 times his regular rate for such hours over forty in a week,
   pursuant to 12 NYCRR § 142-2.2 and 12 NYCRR § 146-1.4 (ii) entitled to unpaid minimum
   wages from Defendants for working and being paid less than the applicable New York State
   minimum wage rate for each hour he worked for Defendants in a week; (iii) entitled to an
   extra hour of pay for each day he worked a spread of hours of more than ten (10) hours
   pursuant to New York Minimum Wage Act and the regulations thereunder including 12
   NYCRR 146-1.6., and (iv) is entitled to maximum liquidated damages and attorneys’ fees,
   pursuant to the New York Minimum Wage Act ("NYMWA"), N.Y. Lab. Law§§ 650 et seq.,


                                                 1
         Case 1:18-cv-11710-GWG Document 1 Filed 12/14/18 Page 2 of 10



   including NYLL § 663, and the regulations thereunder.

3. Plaintiff is also entitled to recover his unpaid wages, and wage deductions, under Article 6 of
   the New York Labor Law including Section 191, 193, and maximum compensation for not
   receiving notices and statements required by NYLL 195, under Article 6 of the New York
   Labor Law and is also entitled to maximum liquidated damages, interest, and attorneys’ fees
   pursuant to Section 198 of the New York Labor Law.


                                    JURISDICTION AND VENUE
4. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337 and
   supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367. In
   addition, the Court has jurisdiction over Plaintiff’s claim under the Fair Labor Standards Act
   pursuant to 29 U.S.C. § 216 (b).


5. Venue is proper in the Southern District of New York pursuant to 28 U.S.C. § 1391(b) and/or
   29 U.S.C. § 216 (b).


6. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§
           2201 2202.


                                         THE PARTIES
7. Plaintiff Luis Quizhpi (“Plaintiff” or “Quizhpi”) is an adult, over eighteen years old, who
   currently resides in Queens County in the State of New York.


8. At all times relevant herein, Defendant 212 Steakhouse, Inc. (“212 Steakhouse”) was a New
   York for-profit Corporation.

9. Upon information and belief and at all times relevant herein, the corporate Defendant was
   owned/controlled/managed by Defendant Nikolay Volper (“Volper”) who was in charge of
   the operations and management of 212 Steakhouse.

10. At all times relevant herein, Defendants individually, and/or jointly controlled the
   employment of Plaintiff and was responsible for hiring, firing, scheduling, controlling,


                                                 2
         Case 1:18-cv-11710-GWG Document 1 Filed 12/14/18 Page 3 of 10



   managing, supervising, and record-keeping as to Plaintiff’s employment, among other
   employment functions.

11. Upon information and belief, Defendants shared a place of business in New York County,
   New York at 316 E 53rd Street, New York, NY 10022.

12. At all times relevant herein, Defendants individually and/or jointly employed Plaintiff.

13. The “present” or the “present time” as used in this complaint refers to the date this complaint
   was signed.


                       STATEMENT OF FACTS
14. Upon information and belief, and at all relevant times herein, Defendants were engaged in
   the food and restaurant business. See http://www.212steakhouse.com/

15. Upon information and belief, and at all relevant times herein, Defendants individually and/or
   jointly employed approximately ten or more employees.


16. Plaintiff Quizhpi was employed by Defendants from in or April 2016 to in or around
   November 2017.


17. At all times relevant herein, Defendants employed Plaintiff as an expediter/food
   runner/busser.


18. At all times relevant herein, Plaintiff was paid at an hourly rate of about $7.50 an hour plus
   some tips and Plaintiff was not paid any wages for his overtime hours (hours over 40 in a
   week) worked – Defendants misclassified Plaintiff as an overtime exempt employee.


19. At all times relevant herein, Plaintiff worked about 50-52 or more hours a week for
   Defendants, 5-6 days a week; but Plaintiff was not paid any wages for hours worked in
   excess of 40 in a week, for each week during his employment with Defendants.

20. At all times relevant herein, Defendants failed to pay Plaintiff at a rate of at least the NYS
   applicable minimum wage rate for each and all hours worked in a week, for each week

                                                  3
         Case 1:18-cv-11710-GWG Document 1 Filed 12/14/18 Page 4 of 10



   during his employment with Defendants.


21. At all times relevant herein, Plaintiff worked a spread of hours of more than 10 hours a day
   for 4 or more days each week of his employment for Defendants but was not paid an
   additional hour of pay for each such day in violation of 12 NYCRR 146-1.6.

22. A more precise statement of the hours and wages will be made when Plaintiff Quizhpi
   obtains the wage and time records Defendants were required to keep under the FLSA and
   NYLL. Accurate copies of Plaintiff’s wage and time records that Defendants were required
   to keep pursuant to 29 USC 211, 29 CFR 516 and NYLL 195, 12 NYCRR 142.2-6, are
   incorporated herein by reference.

23. At all times relevant herein and for the time Plaintiff was employed by Defendants,
   Defendants failed and willfully failed to pay Plaintiff an overtime rate of 1.5 times his regular
   rate of pay for each and all hours worked in excess of forty hours in a week for each week in
   which such overtime was worked.

24. At all times relevant herein, Defendants did not provide Plaintiff with the notice(s) required
   by NYLL 195(1).

25. At all times relevant herein, Defendants did not provide Plaintiff with the statement(s)
   required by NYLL 195(3).

26. Upon information and belief and at all times relevant herein, Defendants had annual revenues
   and/or expenditures in excess of $500,000.

27. At all times applicable herein, Defendants conducted business with vendors/entities/persons
   within the State of New York.

28. At all times applicable herein and upon information and belief, Defendants utilized the
   instrumentalities of interstate commerce such as the United States mail, electronic mail,
   internet and telephone systems.

29. At all times applicable herein and upon information and belief, Defendants conducted
   business in interstate commerce involving the purchase of food and other essential equipment

                                                 4
         Case 1:18-cv-11710-GWG Document 1 Filed 12/14/18 Page 5 of 10



   and supplies.

30. Defendants as a regular part of its business, make payment of taxes and other monies to
   agencies and entities outside the State of New York.

31. Defendants as a regular part of its business, engaged in credit card transactions with
   involving banks and other institutions outside the state of New York.

32. At all times applicable herein and upon information and belief, Defendants transacted
   business with insurance companies, banks and similar lending institutions outside the State of
   New York.

33. At all times applicable herein and upon information and belief, Defendants utilized the
   instrumentalities of interstate commerce such as the United States mail, internet electronic
   mail and telephone systems.


34. Upon information and belief, and at all relevant times herein, Defendants failed to display
   federal and state minimum wage/overtime posters.

35. Upon information and belief, and at all relevant times herein, Defendants failed to notify
   Plaintiff of his federal and state minimum wage and overtime rights and failed to inform
   Plaintiff that he could seek enforcement of such rights through the government enforcement
   agencies.

36. “Plaintiff” as used in this complaint refers to the named Plaintiff.

37. The “present” or the “present time” as used in this complaint refers to the date this complaint
   was signed.

38. All times applicable or relevant herein, the FLSA overtime claim refers to the two-year and
   three-year period preceding the filing of this complaint but this period may be longer. All
   times applicable or relevant herein, the NYLL overtime claim refers to the six-year period
   preceding the filing of this complaint.




                                                  5
         Case 1:18-cv-11710-GWG Document 1 Filed 12/14/18 Page 6 of 10




                          AS AND FOR A FIRST CAUSE OF ACTION
                               (DECLARATORY JUDGMENT)
39. Plaintiff alleges and incorporates by reference the allegations in paragraphs 1 through 38
   above as if set forth fully and at length herein.


40. At all times relevant herein, Defendants misclassified Plaintiff, even though Plaintiff was at
   all relevant times, an employee of Defendants as a matter of law.


41. Plaintiff seeks a declaratory judgment that at all relevant times herein, he was an employee of
   Defendants under the Internal Revenue Code, and specifically, under the Federal Insurance
   Contributions Act (“FICA”). See 26 U.S.C. § 3121(b). U.S. v. MacKenzie 777 F.2d 811,
   814 (2d Cir., 1985).


42. Plaintiff also seeks a declaratory judgment that at all relevant times herein, he was an
   employee of Defendants under the federal Fair Labor Standard Act and New York Labor
   Law under which Plaintiff sues herein. See Barfield v. N.Y.C. Health & Hosps. Corp., 537
   F.3d 132, 141–42 (2d Cir.2008). Brock v. Superior Care, Inc., 840 F.2d 1054 (2d Cir.1988).


43. The declarations of employee status sought by Plaintiff herein, will allow Plaintiff to seek
   certain tax contributions from Defendants, as well as make him eligible to seek a range of
   benefits that comes with employee status such as unemployment insurance benefits, as well
   as benefits offered by Defendants to its other employees and other benefits provided by law
   to employees. Plaintiff herein is seeking to recover all benefits that come with employee
   status that can be recovered in this action under law.


                       AS AND FOR A SECOND CAUSE OF ACTION
       FAIR LABOR STANDARDS ACT - 29 U.S.C 201 et Seq. (Unpaid Overtime Wages)
44. Plaintiff alleges and incorporates by reference the allegations in paragraphs 1 through 43
   above as if set forth fully and at length herein.


45. At all times relevant to this action, Plaintiff was employed by Defendants within the meaning


                                                  6
         Case 1:18-cv-11710-GWG Document 1 Filed 12/14/18 Page 7 of 10



   of the FLSA.

46. At all times relevant to this action, Plaintiff was engaged in commerce and/or in the
   production of goods for commerce and/or Defendants, constituted an enterprise(s) engaged in
   commerce within the meaning of 29 U.S.C. § 206.

47. At all times relevant herein, Defendants transacted commerce and business in excess of
   $500,000.00 annually or had revenues in excess of $500,000.00 annually.

48. At all times relevant herein, Defendants failed and willfully failed to pay Plaintiff overtime
   compensation at rates not less than 1.5 times his regular rate of pay for each hour worked in
   excess of forty hours in a week, in violation of 29 U.S.C. § 207.


                               Relief Demanded
49. Due to Defendants’ FLSA overtime wage violations, Plaintiff is entitled to recover from
   Defendants, his unpaid overtime wage compensation, maximum liquidated damages,
   attorneys’ fees, and costs of the action, pursuant to 29 U.S.C. § 216(b).


                    AS AND FOR A THIRD CAUSE OF ACTION
       NYLL 650 et Seq. & 12 NYCRR 142, 146 (Unpaid OT + Min. wages + SOH)
50. Plaintiff alleges, and incorporates by reference the allegations in paragraphs 1 through 48
   above as if set forth fully and at length herein.


51. At all times relevant to this action, Plaintiff was employed by Defendants within the meaning
   of the New York Labor Law, §§ 2 and 651 and the regulations and wage orders thereunder.

52. At all times relevant herein, Defendants failed and willfully failed to pay Plaintiff overtime
   compensation at rates not less than 1.5 times his regular rate of pay for each hour worked in
   excess of forty hours in a work-week, in violation of the New York Minimum Wage Act and
   its implementing regulations and wage orders. N.Y. Lab. Law §§ 650 et seq., including 12
   NYCRR § 142-2.2., 12 NYCRR § 146-1.4.

53. At all times relevant herein, Defendants failed and willfully failed to pay Plaintiff at a rate
   that was at least equal to the applicable New York State minimum wage rate for each hour

                                                  7
         Case 1:18-cv-11710-GWG Document 1 Filed 12/14/18 Page 8 of 10



   worked in a week in violation of the New York minimum Wage Act and its implementing
   regulations. N.Y. Lab. Law§§ 650 et seq.; 12 NYCRR § 142-2.1.

54. At all times relevant herein, Plaintiff worked a spread of hours of more than ten (10) hours a
   day during the period he was employed by Defendants but Defendants failed to pay Plaintiff
   an additional hour of pay for each such day in violation of the New York Minimum Wage
   Act, New York Labor law § 650 et seq., including 12 NYCRR 146-1.6.


                               Relief Demanded
55. Due to Defendants’ New York Labor Law violations, Plaintiff is entitled to recover from
   Defendants, his unpaid overtime wages, minimum wages, spread of hours wages,
   prejudgment interest, maximum liquidated damages, reasonable attorneys' fees, and costs of
   the action, pursuant to N.Y. Labor L. § 663(1).


                       AS AND FOR A FOURTH CAUSE OF ACTION
                 NYLL § 190, 191, 193 and 198 – Unpaid and Withheld Wages
56. Plaintiff alleges, and incorporates each and every allegation contained in paragraphs 1
   through 55 above with the same force and effect as if fully set forth at length herein.


57. At all times relevant to this action, Plaintiff was employed by Defendants within the meaning
   of the New York Labor law, §§ 190 et seq., including §§ 191, 193 and 198 and the applicable
   regulations thereunder.

58. At all relevant times herein, Defendants violated and willfully violated Plaintiff’s rights
   under NY Labor Law § 190 et seq. including NY Labor Law §§ 191, 193 and 198 by failing
   to pay Plaintiff all his wages, including his unpaid non-overtime and overtime wages,
   minimum wages and spread of hours wages, within the time required under NY Labor Law §
   190 et seq.

59. At all times relevant herein, Defendants failed and willfully failed to provide Plaintiff with
   the notice(s) required by NYLL 195(1) – Plaintiff is therefore entitled to and seeks to recover
   in this action the maximum recovery for this violation, plus attorneys’ fees and costs
   pursuant to NYLL 198 including NYLL 198(1-b), as well as an injunction directing


                                                  8
         Case 1:18-cv-11710-GWG Document 1 Filed 12/14/18 Page 9 of 10



   Defendants to comply with NYLL 195(1).

60. At all times relevant herein, Defendants failed and willfully failed to provide Plaintiff with
   the statement(s) required by NYLL 195(3) – Plaintiff is therefore entitled to and seeks to
   recover in this action the maximum recovery for this violation, plus attorneys’ fees and costs
   pursuant to NYLL 198 including NYLL 198(1-d), as well as an injunction directing
   Defendants to comply with NYLL 195(1).


                               Relief Demanded
61. Due to Defendants’ New York Labor Law Article 6 violations including violation of sections
   191, 193 and 198, Plaintiff is entitled to recover from Defendants, his entire unpaid wages,
   including his unpaid non-overtime and overtime wages, minimum wages, spread of hours
   wages, maximum liquidated damages, prejudgment interest, maximum recovery for
   violations of NYLL §195(1) and NYLL § 195(3), reasonable attorneys’ fees, and costs of the
   action, pursuant to N.Y. Labor Law § 190 et seq. including § 198.


                               PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:
62. Declare Defendants to be in violation of the Plaintiff’s rights under the FLSA and New York
   Labor Law – 12 NYCRR § 142, and Article 6 of the NYLL – NYLL § 190 et Seq.


63. As to his First Cause of Action, issue a declaratory judgment that Plaintiff at all relevant
   times was an employee of Defendant under the Internal Revenue Code, including the Federal
   Insurance Contributions Act, as well as under the FLSA and NYLL.

64. As to his Second Cause of Action, award Plaintiff his unpaid overtime wage compensation,
   maximum liquidated damages, reasonable attorneys' fees, and costs of the action, pursuant to
   29 U.S.C. § 216(b).


65. As to his Third Cause of Action, award Plaintiff his unpaid overtime wage compensation,
   minimum wages, and spread of hours wages due under the New York Minimum Wage Act
   and the Regulations thereunder including 12 NYCRR §§ 142-2.2, 12 NYCRR 146-1.4, 12
   NYCRR 142-2.4, 12 NYCRR 142-2.1, 12 NYCRR § 146-1.6, 12 NYCRR § 146-1.2,

                                                  9
          Case 1:18-cv-11710-GWG Document 1 Filed 12/14/18 Page 10 of 10



   together with maximum liquidated damages, prejudgment interest, costs and attorney's fees
   pursuant to NYLL § 663;

66. As to his Fourth Cause of Action, award Plaintiff any and all outstanding wages, including
   his entire unpaid wages, including his unpaid non-overtime and overtime wages, minimum
   wages, spread of hours wages, maximum liquidated damages, prejudgment interest,
   maximum recovery for violations of NYLL § 195(1) and NYLL § 195(3), reasonable
   attorneys’ fees, and costs of the action, pursuant to N.Y. Labor Law § 190 et seq. including §
   198.

67. Award Plaintiff prejudgment interest on all monies due.

68. Award Plaintiff any relief requested or stated in the preceding paragraphs but which has not
    been requested in the WHEREFORE clause, in addition to the relief requested in the
    wherefore clause;

69. Award Plaintiff such other, further and different relief as the Court deems just and proper.


Dated: Queens Village, New York
       December 14, 2018

Abdul Hassan Law Group, PLLC
/s/ Abdul Hassan __________________
By: Abdul K. Hassan, Esq. (AH6510)
Counsel for plaintiff
215-28 Hillside Avenue
Queens Village, NY 11427
Tel: 718-740-1000
Fax: 718-740-2000
Email: abdul@abdulhassan.com




                                                10
